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                                  STATEMENT OF FACTS
        From December 2022 to the present, Homeland Security Investigations (“HSI”) has been
conducting a joint investigation with the Washington D.C. Metropolitan Police Department (“MPD”)
and the U.S. Postal Inspection Service (“USPIS”) into a narcotics distribution point located at and
around the 100 block of Yuma Street Southeast, Washington D.C. (hereinafter, the “YUMA
BLOCK”). 144 Yuma Street Southeast is a property that includes an abandoned house as well as a
shed in the back yard (hereinafter, the “YUMA SHED”). The investigation identified both the YUMA
SHED and the YUMA BLOCK as a singular narcotics distribution point, wherein the narcotics dealers
would typically congregate behind the YUMA SHED while also walking out onto the street on the
YUMA BLOCK to conduct drug sales. As part of the investigation, law enforcement installed a pole
camera on Yuma Street Southeast with a view of the YUMA BLOCK (hereinafter, the “YUMA
BLOCK POLE CAMERA”) as well as a pole camera in the rear of the YUMA SHED (hereinafter,
the “YUMA SHED POLE CAMERA”). The YUMA BLOCK and the YUMA SHED are located
within 1,000 feet of Paramount Child Development Center Prep School.

       Through an investigation that included numerous controlled purchases of fentanyl by an
undercover officer, law enforcement identified numerous individuals as members of a criminal
conspiracy to distribute fentanyl on the YUMA BLOCK. In a 10-count indictment filed in 23-cr-419-
CJN on November 30, 2023, a grand jury charged four such individuals – Alphonso MURRAY (“A.
MURRAY”), Kevin PENN, Marquette MURRAY (“M. MURRAY”), and Christian SIMMS – with
charges including Conspiracy to Distribute and Possess with Intent to Distribute 40 Grams or More of
Fentanyl Mixture, 10 Grams or More of Fentanyl Analogue Mixture, and a Mixture and Substance
Containing a Detectable Amount of Cocaine Base, as well as one or more related Unlawful
Distribution counts, arising from drug transactions on the YUMA BLOCK.

       Through the aforementioned investigation, the government has established Leonard Darnell
SHORT and James MARTIN as additional members of the criminal conspiracy to distribute fentanyl
on the YUMA BLOCK.
       Leonard Darnell Short
        On August 9, 2023, an HSI UC arrived at the YUMA BLOCK and walked to the rear of the
YUMA SHED where the UC engaged in conversation with SHORT and previously indicted
coconspirator A. MURRAY. SHORT asked the UC what they wanted, and the UC stated they wanted
“60” (bags of fentanyl). SHORT then made a phone call and informed the recipient of the call,
believed to be M. MURRAY for reasons detailed below, that someone wanted 60 bags. After SHORT
ended the phone call, he indicated to the UC that the individual he had called would arrive soon.
SHORT and A. MURRAY asked for the UC’s phone number, which SHORT then dialed from a
specific phone number (“PHONE NUMBER 1”), confirming to the UC by stating “that’s me calling”
as the UC’s phone rang.
       Shortly after SHORT’s phone call detailed above, M. MURRAY arrived behind the rear of
the YUMA SHED and the UC explained to him how many bags they wanted to buy. The UC asked
if M. MURRAY had a scale and SHORT replied that he did. M. MURRAY, with the assistance of
SHORT, proceeded to weigh out approximately 9.03 grams of fentanyl that they then provided to the
UC. The specific area on the YUMA BLOCK where SHORT and M. Murray sold the UC fentanyl
was located within 1,000 feet of Paramount Child Development Center Prep School.
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          James Martin
        On June 24, 2023, MPD officers walked behind the YUMA SHED where they encountered
MARTIN. During the consensual encounter, MARTIN was recorded via MPD body worn cameras
as he identified himself as James MARTIN. Over the course of the investigation, agents observed
MARTIN on the pole cameras on numerous occasions, including in the direct presence of suspected
fentanyl.
       On March 20, 2023, MARTIN was observed conducting a suspected hand-to-hand
purchase of fentanyl on the YUMA BLOCK:




    March 20th, 2023, MARTIN conducts a suspected hand-to-hand purchase of fentanyl from previously indicted defendant Ahmad
                                       ROBERTSON 1 on the YUMA BLOCK.

       On June 28, 2023, agents monitored pole camera and observed A. MURRAY, Marquette
MURRAY, and James MARTIN, along with additional known and unknown co-conspirators behind
the YUMA SHED. Many of these identified and unidentified co-conspirators engaged in hand-to-
hand transactions of suspected fentanyl and other suspected illicit activity. Agents observed
MARTIN interacting and associating with different narcotic distributors behind the YUMA SHED
throughout the day:




1
  Robertson was indicted on counts including Unlawful Possession with Intent to Distribute Fentanyl in 23-cr-211-
CJN. Robertson pled guilty to Possession of a Firearm in Furtherance of a Drug Trafficking Crime and is pending
sentencing.
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                                June 28, 2023: James MARTIN behind the YUMA SHED

        That same date, the YUMA SHED POLE CAMERA captured MARTIN in the vicinity of the
transaction when HSI UC-1 traveled to the YUMA BLOCK to conduct a controlled purchase of
approximately 4.379 grams of fentanyl and .867 grams of cocaine.
        On June 30, 2023, agents repeatedly observed MARTIN behind the YUMA SHED in the
direct presence of white powdery substances suspected to be fentanyl, including while interacting with
known and unknown coconspirators:




       June 30, 2023: Agents observe MARTIN behind the YUMA SHED and in the direct presence of suspected fentanyl.
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         June 30, 2023: Agents observe MARTIN behind the YUMA SHED and in the direct presence of suspected fentanyl.

        On November 15, 2023, agents observed MARTIN with A. MURRAY, Kevin PENN, and
Christian SIMMS behind the YUMA SHED via the YUMA SHED POLE CAMERA. MARTIN was
observed assisting with the packaging of fentanyl behind the YUMA SHED, on the same table where
agents had previously observed A. MURRAY, PENN, and SIMMS using as a workstation to weigh,
package, and distribute fentanyl.




         November 15, 2023: MARTIN sitting at a table with PENN and packaging suspected fentanyl. MARTIN is observed
                   wearing the same vest from the March 20th, 2023, pole camera footage (see below).
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        Based on the above stated facts, your affiant submits that probable cause exists that
Leonard Darnell SHORT and James MARTIN have violated 21 U.S.C. §§ 846, 841(a)(l) and
841(b)(l)(C) (Conspiracy to Possess with Intent to Distribute a Detectable Amount of Fentanyl).
Further, there is probable cause to believe that SHORT additionally violated 21 U.S.C. §§ 860,
841(a)(l) and 841(b)(l)(C) (Unlawful Possession with Intent to Distribute Fentanyl within 1,000
feet of a school and/or playground).
        Your affiant has not provided every fact known to him during the investigation, but facts
sufficient to establish probable cause.


                                    _____________________________________________
                                    SPECIAL AGENT BRETT LEMBKE
                                    HOMELAND SECURITY INVESTIGATIONS




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 24th day of January, 2024.




                                    _____________________________________________
                                    HONORABLE MOXILA A. UPADHYAYA
                                    UNITED STATES MAGISTRATE JUDGE
